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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA



MLB PLAYERS INC.,                                     CIVIL ACTION

                      Plaintiff,                      No. 24-4884-KSM

              v.

DRAFTKINGS, INC., f/k/a DK CROWN
HOLDINGS INC. and BET365 GROUP
LIMITED,

                      Defendants.


                                    [PROPOSED] ORDER
       AND NOW, this ______ day of ___________ 2025, upon consideration of the Defendants’

motions to dismiss, see ECF Nos. 34 and 36, along with Plaintiff’s opposition thereto, it is

ORDERED that Defendants’ motions are DENIED.




                                                 _______________________________

                                                 KAREN SPENCER MARSTON, J.
